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 2
                                    UNITED STATES DISTRICT COURT
 3                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 4

 5    UNITED STATES OF AMERICA,
 6                        Plaintiff,                           Case No. CR05-391RSM
             v.
 7                                                             MINUTE ORDER
      JASON JOHN FUHR,
 8
                          Defendant.
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            The following Minute Order is made by direction of the Court, the Honorable Ricardo S.
12
     Martinez, United States District Judge:
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            This matter comes before the Court on plaintiff’s Motion for Reconsideration of the
14
     Court’s Order re: Child Support (Dkt. #859). Having reviewed the motion and attached exhibits,
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     the State’s petition and the remainder of the record, the Motion for Reconsideration is
16
     GRANTED. The Court’s January 9, 2007 Order granting the State of Washington’s petition for
17
     forfeited cash for child support payment is STRICKEN (Dkt. #854). Counsel for the government
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     shall submit a proposed briefing schedule on the State’s petition in this matter and on a similar
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     petition filed in USA v. COREY ALLEN BROWN, CR05-391RSM (Dkt. #771), no later than
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     July 31, 2007. After both matters are fully briefed, the Court will schedule a consolidated
21
     ancillary hearing on the petitions pursuant to Title 21, United States Code, Section 853(n).
22
            DATED this 20th day of July, 2007.
23
                                                             BRUCE RIFKIN, Clerk
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25                                                           By /s/ Lowell Williams
                                                                    Deputy Clerk
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     MINUTE ORDER
